                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

IN RE:                                       §
                                             §
WALTER GEORGE BUSBY                          §      CASE NO. 19-50725-cag
DEANN LOUISE BUSBY                           §      CHAPTER 7
         Debtor(s).                          §
                                             §
                                             §
WILMINGTON TRUST COMPANY,                    §
AS SUCCESSOR TRUSTEE TO                      §
CITIBANK, NA AS TRUSTEE TO                   §
STRUCTURED ASSET SECURITIES                  §
CORPORATION, SERIES 2005-1                   §
           Movant,                           §
v.                                           §
                                             §
WALTER GEORGE BUSBY, Debtor                  §
DEANN LOUISE BUSBY, Debtor                   §
JOSE C RODRIGUEZ, Trustee                    §
          Respondents.                       §

     MOTION FOR RELIEF FROM AUTOMATIC STAY OF ACT AGAINST
  COLLATERAL AND WAIVER OF THIRTY-DAY (30) HEARING REQUIREMENT

                                 NOTICE TO ALL PARTIES
 THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
 INTERESTS.
 IF NO TIMELY RESPONSE IS FILED WITHIN FOURTEEN (14) DAYS FROM THE
 DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE GRANTED
 WITHOUT A HEARING BEING HELD.
 A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

       Comes now, Wilmington Trust Company, as successor Trustee to CitiBank, NA as Trustee

to Structured Asset Securities Corporation, Series 2005-1, (“hereinafter referred to as “Movant”),

by and through the undersigned attorney, and moves the Court as follows:

       1.      This Motion is brought pursuant to 11 U.S.C. § 362(d)(1) in accordance with Rule

4001 of the Bankruptcy Rules.
         2.        On or about April 1, 2019, the Debtor(s) (the term “Debtor” herein shall refer to

both single and joint debtors) filed for relief under Chapter 7 of the United States Bankruptcy

Code.

         3.       On November 19, 2004, Walter G. Busby, executed and delivered a Note to SCME

Mortgage Bankers, Inc., a California Corporation. On or about the same day, Walter G. Busby,

and Deann L. Busby executed and delivered a Deed of Trust securing payment of the note. A True

and correct copies of the note, deed of trust, and the assignment, are attached as Exhibit “A”.

         4.       The Deed of Trust secures the following real property located in Bexar County,
Texas:




              AKA: 914 CAMPANILE, SAN ANTONIO, TEXAS 78258 (the “Subject Property”)

         5.       The Debtors have failed to maintain current contractual payments due under the

Note and, as of April 3, 2019, are presently in arrears for seven (7) payments through and including

the April 1, 2019 payment. An affidavit in support of this Motion will be served pursuant to Local

Rule 9013, concurrently with the service of this Motion.

         6.       Movant is unaware of any substantial change in the financial or personal affairs of

the Debtor.

         7.       As of April 3, 2019, the outstanding indebtedness to Movant is $424,136.47,

including principal balance, interest amount, escrow advances, NSF fees, and corporate advance,

as provided in the Note and Deed of Trust.

         8.       The value of the collateral, pursuant to the Bexar County Appraisal Report, is

$890,300.00, a copy of which is attached as Exhibit “B”.




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        9.      Debtor’s Statement of Intention indicates an intention to retain the property and

enter a Reaffirmation Agreement.

        10.     Debtor has failed to provide adequate protection to Movant which constitutes cause

to terminate the automatic stay of 11 U.S.C. § 362(a).

        11.     By reason of the foregoing, Movant requests the Court to terminate the stay so

Movant may proceed to foreclose in accordance with its promissory Note and Deed of Trust.

        12.     Movant reserves the right to assert an 11 U.S.C. § 362(d)(2) Cause of Action, if

appropriate, at the hearing on Movant’s Motion for Relief.

        13.     The provision of Rule 4001 (a) (3) should be waived and Movant be permitted to

immediately enforce and implement any order granting relief from the automatic stay.

        WHEREFORE, Movant prays that this Court enter an order, after notice and hearing,

terminating the automatic stay as to Movant; alternatively, Movant be made whole by having all

contractual payments brought current. Movant further prays that the Court waive the provision of

Rule 4001 (a) (3) and that Wells Fargo Bank, N.A. be permitted to immediately enforce and

implement any order granting relief from the automatic stay; that Movant be awarded its

reasonable contractual attorney fees and expenses for this Motion; and, that Movant be granted

such other and further relief as is just.

                                                  Respectfully submitted,

                                            BY:   /s/ Megan F. Clontz
                                                  Megan F. Clontz
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing with exhibits,
including an affidavit in support, was provided via electronic notice and/or Regular U.S. Mail to
the parties listed on the attached service list on May 20, 2019.

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                                              /s/ Megan F. Clontz
                                              Megan F. Clontz




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